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                 EXHIBIT B-067
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                                                                                         FILED IN OFFICE
                   IN THE SUPERIOR COURT OF FULTON COUNTY
                               STATE OF GEORGIA

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                                                                                          IAU~2,
                                                                                    DEPUTY CL:lHI< vU' El,iOR COURT
                                                                                 , ___   F~I P')"J ! ,' ' J '"Y CA




V.                                                       CASE NO. 2022-
                                                   •     EX-000024


                                                   •

     REQUEST TO USE A RECORDING DEVICE PURSUANT TO RULE 22 ON
                RECORDING OF JUDICIAL PROCEEDINGS.

Pursuant to Rule 22 of the Uniform Rules for Superior Court regarding Use of
Electronic Devices in Courtrooms and Recording of Judicial Proceedings, the
undersigned    hereby requests permission to use a recording device in
Courtroom 8D in order to x~record images and/or x~sound during all or
portions of the proceedings in the above captioned case/ calendar.

Consistent with the provisions of the rule, the undersigned desires to use the
following described recording device(s): xlx]computer of any size, including a
tablet, a notebook, and a laptop: x~smart         phone, a cell phone or other
wireless phone: xD camera and other audio or video recording devices xix] any
similar devices small audio recorders, still camera.

The proceedings that the undersigned desires to record commence on (date and
timeJl0:30 am Aug. 25, 2022. Subject to direction from the court regarding
possible pooled coverage, the undersigned wishes to use this device in the
courtroom on (date and timeJl0:30 a.m. Aug. 25, 2022.

The personnel who will be responsible for the use of this recording device are:
(identify   appropriate     personnel   or   indiuidual)Mar&aret   Newkirk,   Brett       Pulley,
Bloomber& photographer.


The undersigned hereby certifies that the device to be used and the locations
and operation of such device will be in conformity with Rule 22 and any


For questions or concerns    email pio@[ullo11cow1L1KJ.a.gg1,1                                 1
Rule 22 (Rev. 04/01 I 18)
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guidelines issued by the court.
*Notice to Requesting Agency or Individual*
In order to be deemed timely by the Court, this request must be
submitted 24 business hours prior to the proceeding for which it is
requested due to mandatory notice requirements.

Bloomberg News
(News Agency/Media Outlet/Law Firm/Individual Representative)

mnewkirk@bloomberg.net
(Email Address)

404-249-7054
(Phone Number]

ORDER APPROVING/DISAPPROVING REQUEST:
              The request Is:
                    ~pproved


              The requesting agency:
                            be pool for Its media
                      ~Shall    not be pool for Its media
Under no circumstances is this rule to be construed as permission for filming,
recording, or photography in any other area of the courthouse or courtroom
other than that for which permission Is given. The undersigned understands
and acknowledges that a violation of Rule 22 and any guidelines Issued by the
court may be grounds for removal or exclusion from the courtroom and a
willful violation may subject the undersigned to penalties for contempt of court.

So ORDERED this 23rd day of __ A_u_g_us_t
                                    __________                    20_2_2_




For questions or concerns email plo@{itltoncqur1[tltiruaov                    2
Rule 22 (Rev. 04/01/18}        •   •           • •
